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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    WESTERN DIVISION

UNITED STATES OF AMERICA                                        PLAINTIFF

v.                       No. 4:17-cr-73-DPM-1

FRANSWAH ERICK ASKEW                                         DEFENDANT

                                ORDER
     The Court has been unable to contact Askew' s counsel. This case
is first out for trial on 30 April 2018. The Court will hold a pretrial
hearing on Friday, 20 April 2018 at 3:15 p.m. Askew and all counsel
must appear.
     So Ordered.


                                  D.P. Marshall   fr.
                                  United States District Judge

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